Case 16-00186-ref       Doc 42      Filed 10/26/17 Entered 10/26/17 10:22:52                       Desc Main
                                    Document      Page 1 of 1


                             SHER’ TREMONTE                            LLP

                                                                        Kimo   S.   Peluso
                                                                        direct: (212) 300-2442
                                                                        kpeluso@shertremonte.com




                                                                        October 25, 2017
 BY ECF AND U.S. MAIL

 Hon. Richard E. Fehling
 United States Bankruptcy Court for the
    Eastern District of Pennsylvania
 The Madison Building
 400 Washington Street, Suite 301
 Reading, PA 19601

                Re:     In re Chapter 7Bankruptcy Petition of Timothy D. Hayes,
                        No. 16-11983 (REF)
                        315 Bowery Holdings, LLC v. Hayes,
                        Adv. No. 16-00186 (REF)

 Dear Judge Fehling:

        We represent 315 Bowery Holdings, LLC and CBGB Festival, LLC (“Plaintiffs”) in the
 above-referenced adversary proceeding. We write in follow up to the telephone conference with
 Your Honor held yesterday with Defendant-Debtor Timothy Hayes’s counsel.

        We hereby request that the Court lift the current order staying the above adversary
 proceeding (Dkt. No. 33) for the limited purpose of taking the deposition of Mr. Hayes for
 purposes of the adversary proceeding and the pending action in New York Supreme Court (NY.
 Sup. Ct., Index No. 652990/2014).

        To ensure that all interested parties are notiﬁed, we are ﬁling this request to the electronic
 dockets of both the main bankruptcy action and the adversary proceeding.

                                                 Respectfully submitted,

                                                 /s/ Kimo Peluso

                                                 Kimo Peluso
 cc:    All counsel of record (by ECF)
                                                               SO ORDERED:
                                                                               |

                      (o/u/ﬂ
                                                               United States Bankruptcy Judge

                 $30 BROAD STREET 2352:) F100;?
                                         g
                                                NEW YORK NY 10004
                                                          1




              WWWBHERT‘REMONTE COM TEL” 212,215: 2600 FAX, 2122034156
                                             {                     [
